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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF l\/IASSACHUSETTS

 

THOMAS l\/IARTIN,
Plaintiff,

V.

ALLY FlNANCIAL, INC., RAYNHAM

SATURN, INC. d/b/a MASTRIA TOWING

& RECOVERY and JOHN DOE
Defendants.

`/\/\./\'/\/\/\/\/\/

C.A. NO.: 13-11388-RWZ

STIPULATION ()F DISMISSAL

Pursuant to Fed. R. Civ. P. Rule 4l(a)(1)(ii), the Plaintiff,Thomas l\/lartin and the

Defendants, Ally Finaneial, Inc., Raynham Saturn, Ine. d/b/a Mastria TOWing & Recovery and

John Doe by their attorneys, stipulate that this action be dismissed With prejudice, Without costs

and With all rights Of appeal Waived.

THE PLAINTIFF,
THOl\/IAS l\/IARTIN
BY HIS ATTORNEY,

/s/ Nl`cholas F. Ortz'z

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THE DEFENDANT,

RAYNHAM SATURN, INC. d/b/a
MASTRIA TOWING & RECOVERY
BY ITS ATTORNEY,

/s/ Davl'a’ R. Walsh

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THE DEFENDANT,

ALLY Fl1\lAl\lClALj INC‘

BY ITS ATTORNEY,

/s/ Michael Lz/shcm

Michael Lushan, BBO# 307990
Lushan, McCarthy & Goonan
496 Harvard Street

Brookline, MA 02446

(617) 739~0700

DATE: 10/29/13

CERTIFICATE OF SERVICE
l hereby certify that on October 29, 2013, l filed the foregoing document through the
ECF Systern Which Will send notice electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies Will be sent to those indicated as non

registered participants

/s/ Davia’ R. Walsh

 

